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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

WILDEARTH GUARDIANS; and              )
PHYSICIANS FOR SOCIAL RESPONSIBILITY )
                                      )
             Plaintiffs,              )
                                      )                      Case No. 1:21-cv-00175-RC
       v.                             )
                                      )
DEBRA HAALAND, Secretary,             )
U.S. Department of the Interior; and  )
U.S. BUREAU OF LAND MANAGEMENT        )
                                      )
             Defendants,              )
                                      )
AMERICAN PETROLEUM INSTITUTE, et al., )
                                      )
             Intervenor-Defendants.   )


          PLAINTIFFS’ CONTINGENT MOTION FOR EXTENSION OF TIME


       Plaintiffs WildEarth Guardians and Physicians for Social Responsibility (collectively,

“Conservation Groups”) respectfully move for an extension of 28 days, up to and including

September 10, 2021 to file a response to Federal Defendants’ Motion for Voluntary Remand

Without Vacatur (ECF No. 43), unless the Court first grants Conservation Groups’ pending

Motion to Stay Proceedings (ECF No. 46). Conservation Groups ask that the requested extension

also apply to Intervenor-Defendants’ deadlines to respond to the Motion for Voluntary Remand.

Groups state the following in support of this motion.

       As explained in Conservation Groups’ Motion to Stay (ECF No. 46), Conservation

Groups and Federal Defendants have reached an agreement in principle on a framework for a

settlement agreement that would result in the stipulated dismissal of this case, as well as two
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related cases pending before this Court: Case Nos. 1:16-cv-1724-RC and 1:20-cv-56-RC.1

However, the Parties need additional time to negotiate the specific details of a final settlement

agreement and for Federal Defendants to obtain the approvals necessary to formally enter into

such an agreement. Accordingly, Conservation Groups have requested this Court to stay all

proceedings in this case for 60 days to facilitate negotiations on a final settlement agreement.

       However, recognizing that the Court may not grant the Motion to Stay prior to

Conservation Groups’ upcoming August 13, 2021 deadline for responding to Federal

Defendants’ Motion for Voluntary Remand, Conservation Groups now file this contingent

extension motion.

       Counsel for Conservation Groups have conferred with counsel for the other parties in this

matter. Federal Defendants and Intervenor-Defendants State of Wyoming, Anschutz Exploration

Corporation, and NAH Utah LLC do not oppose the motion. Intervenor-Defendant American

Petroleum Institute (API) is amenable to a one-week extension of the deadline to respond to the

Motion for Voluntary Remand, if made applicable to all parties.2

       As noted in the Motion to Stay, Conservation Groups face five briefing deadlines in this

and the two related cases between August 13 and August 16. Conservation Groups have recently




1
  Conservation Groups are filing similar motions to extend the briefing deadlines in the related
cases.
2
  Prior to reaching the agreement in principle with Federal Defendants and filing the Motion to
Stay, Conservation Groups conferred with the parties in this and the two related cases regarding
a potential 28-day extension of the deadline for filing briefs in response to all three pending
Motions for Voluntary Remand, as well as a 7-day extension for briefs in response to API’s
Partial Motions to Dismiss in the two related cases. All Intervenor-Defendants, including API,
consented to the requested extensions, provided that the extensions also apply to the response
deadlines for all parties, not just Conservation Groups. But having reached an agreement in
principle prior to filing that originally-contemplated extension motion, Conservation Groups
instead filed the Motion to Stay, and now file this contingent motion to extend the briefing
deadline in the event that the Motion to Stay is not first granted.

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spent significant time and effort responding to API’s Partial Motion to Dismiss and in

negotiations with Federal Defendants towards a settlement of this and the two related cases.

Conservation Groups believe that additional time and effort would be better directed towards a

final settlement of this and the related cases, rather than responding to the pending Motions for

Voluntary Remand. Conservation Groups also face a number of ongoing and upcoming

obligations, including a two-week hearing in another matter which started on August 11, 2021.

       Accordingly, Conservation Groups respectfully request that the Court extend the time for

Conservation Groups and all other parties to respond to Federal Defendants’ Motion for

Voluntary Remand by 28 days, up to and including September 10, 2021.



               Respectfully submitted this 12th day of August, 2021,



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                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2021, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to all

counsel of record in this case.



                                                     /s/ Daniel L. Timmons
                                                     Daniel L. Timmons




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